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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ESTATE OF ROBERT P. HARTWICK, et al., )
                                          )
                  Plaintiffs,             )
                                          )                Civil Action No. 1:18-cv-01612-CKK
      v.                                  )
                                          )
THE ISLAMIC REPUBLIC OF IRAN, et al.,     )
                                          )
                  Defendants              )
__________________________________________)

                             PLAINTIFFS’ MOTION
                 REQUESTING A TELEPHONIC STATUS CONFERENCE

       Plaintiffs respectfully request a telephone conference with the Court at its earliest

convenience to discuss the status of this case. This civil action, brought pursuant to the Foreign

Sovereign Immunities Act, is against Iran and its agents. See generally, Second Amended

Complaint, Doc. 11. The case arises out of terrorist attacks supported and sponsored by Iran and

committed against U.S. soldiers in Iraq between 2003 and 2011. Plaintiffs commenced this civil

action in July 2018, later filed an amended and second amended complaint, and then spent the next

year taking the necessary steps to serve process. None of the Defendants responded to the Second

Amended Complaint that was served on them. Consequently, as of February 2020, default has

been entered by the Clerk against all Defendants. On March 18, 2020, Plaintiffs filed a Motion and

Memorandum of Points and Authorities in Support of Order Finding Effective Service of Process

Pursuant to 28 U.S.C. § 1608. See Doc. 49. That motion is ripe and pending before the Court.

Plaintiffs now request a telephone conference with the Court to discuss the motion and the general

status of the case so that, among other things, Plaintiffs can begin conducting third-party discovery.

See Fed.R.Civ.P. 26(d)(1) (requiring court order to begin discovery in the absence of a Rule 26(f)




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meet-and-confer). Alternatively, if the Court prefers, Plaintiffs can submit a proposed case

management order.

Dated: August 7, 2020.                           Respectfully submitted,

                                                 /s/ Christopher G. Paulos
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